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                                                               16
                                                                                           UNITED STATES BANKRUPTCY COURT
                                                               17
                                                                             CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION
                                                               18
                                                               19 In re                                           Case No. 2:20-bk-13530-BR

                                                               20 JADELLE JEWELRY AND DIAMONDS,                   Chapter 7
                                                                  LLC,
                                                               21                                                 PETITIONING CREDITORS’
                                                                                                                  PRELIMINARY OPPOSITION TO
                                                               22                                                 PUTATIVE DEBTOR’S PUTATIVE
                                                                                    Alleged Debtor.               DEBTOR'S EMERGENCY MOTION FOR
                                                               23                                                 (1) RECONSIDERATION OF THE
                                                                                                                  COURT'S ORDER, OR (2)
                                                               24                                                 ALTERNATIVELY, A STAY OF THE
                                                                                                                  BANKRUPTCY CASE
                                                               25
                                                                                                                  DATE:       None Set
                                                               26                                                 TIME:       None Set
                                                                                                                  PLACE:      Courtroom “1668”
                                                               27

                                                               28


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                                                                1
                                                                  VICTOR FRANCO NOVAL; PETER
                                                                2 MARCO, LLC; and FIRST
                                                                  INTERNATIONAL DIAMOND, INC.,
                                                                3
                                                                            Petitioning Creditors,
                                                                4
                                                                       vs.
                                                                5
                                                                  JADELLE JEWELRY AND DIAMONDS,
                                                                6 LLC,

                                                                7                      Alleged Debtor.
                                                                8

                                                                9
                                                                                       Petitioning creditors, Victor Franco Noval (“Noval”), Peter Marco, LLC
                                                               10
                                                                    (“Marco”), and First International Diamond, Inc. (“First International” and together with
                                                               11
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                                                                    Noval and Marco, the “Petitioning Creditors”), hereby submit their “Petitioning Creditors’
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                                                                    Preliminary Opposition to Putative Debtor’s Emergency Motion for (1) Reconsideration of
                                                               13
                                                                    the Court’s Order, or (2) Alternatively, A Stay of the Bankruptcy Case” (the “Opposition”),
                                                               14
                                                                    in response to the “Putative Debtor’s Emergency Motion for (1) Reconsideration of the
                                                               15
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                                                                    Court’s Order, or (2) Alternatively, A Stay of the Bankruptcy Case; and Memorandum of
                                                               16
                                                                    Points and Authorities in Support” (the “Motion”), filed by the alleged debtor Jadelle
                                                               17
                                                                    Jewelry and Diamonds, LLC (the “Debtor” or “Jadelle”), and represent as follows: 1
                                                               18
                                                               19

                                                               20

                                                               21

                                                               22
                                                                    1   Despite knowing full well that neither of its principals, Jona and Rachel Rechnitz, had any intention of
                                                               23 complying with this Court’s June 10, 2020, order (the “June 10 Order”), the Debtor waited until 4:15 p.m. on
                                                                    June 15, 2020, in other words, not even 24-hours until the two declarations were required to be filed, to file
                                                               24 this ill-conceived Motion. This Motion exemplifies the lengths the Debtor will go to shield this Court from
                                                                    the staggering fraud and misconduct which has prejudiced not only Petitioning Creditors, but other
                                                               25 unknown creditors whose identities the Court demanded the Debtor reveal under Ninth Circuit law. As
                                                                    such, Petitioning Creditors have been provided with insufficient time to address each of the inaccurate and
                                                               26 misleading arguments littered throughout the Motion. Therefore, to the extent the Court does not simply
                                                                    deny the Motion, as it should, and enter an order for relief should the Debtor and its principals refuse to
                                                               27 comply with the Court’s clear directive, Petitioning Creditors must be afforded sufficient time to present a
                                                                    comprehensive opposition to the Motion.
                                                               28


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                                                                1                                                   I.

                                                                2                                    PREFATORY STATEMENT

                                                                3                   Without any evidence demonstrating why the Court should reconsider or

                                                                4 stay its June 10 Order, the Motion must be denied without further hearing. The Court

                                                                5 must see this Motion for what it is, the Debtor’s desperate and last-minute attempt to

                                                                6 avoid an unambiguous order meant to provide all creditors of this criminal enterprise with

                                                                7 the opportunity to join in the involuntary petition. The Court, rightly concerned with

                                                                8 Petitioning Creditors’ factual allegations and the well-documented criminal past of its

                                                                9 controlling insider, knew that the only way to afford creditors with due process was to

                                                               10 shine a bright light on the Debtor’s financial affairs. This is why the Court prevented the

                                                               11 Rechnitz’s from hiding behind the Fifth Amendment; it knew that without this condition,
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                                                               12 the Debtor would be free to abuse the judicial process and its creditors even further. In
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                                                               13 sum, the Court must reject the Debtor’s attempt to simply relitigate its Rule 12(b)(6)

                                                               14 motion since all the issues raised in the Motion were discussed, at length, during the

                                                               15 June 9 hearing.
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                                                               16                   Fatally, the Motion does not even attempt to meet the stringent standard in

                                                               17 this Circuit governing motions for reconsideration. Moreover, the Debtor has no right to

                                                               18 asset a Fifth Amendment privilege; the Debtor is a corporate entity, and if its members
                                                               19 and officers want to avoid testimony pursuant to this Court’s order, they do not enjoy a

                                                               20 windfall simply because they are afraid of incriminating themselves. The Debtor does not

                                                               21 get to hide the identities of its creditors, in violation of Ninth Circuit law, by using its

                                                               22 member’s and insider’s individual Fifth Amendment rights as a shield.

                                                               23                   In addition, the purported “evidence” presented in support of the Motion

                                                               24 (again, not from the Rechnitz’s) is inadmissible hearsay which is not even worthy of a

                                                               25 response as it amounts to utter conjecture and speculation. Finally, this Court already

                                                               26 addressed the Fifth Amendment issues during the June 9 hearing and the Court’s ruling

                                                               27 on this point was clear - in the absence of two sworn declarations which do not invoke the

                                                               28 Fifth Amendment, the Rule 12(b) motion would be denied, and an order for relief would


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                                                                1 be entered. The Debtor now has a simple choice, hide behind the Rechnitz’s Fifth

                                                                2 Amendment rights and allow an order for relief to be entered, or comply with the Court’s

                                                                3 June 10 Order and allow other creditors the unassailable right to join the petition.

                                                                4                                                         II.

                                                                5            THE MOTION IGNORES THE STANDARD FOR GRANTING MOTIONS FOR

                                                                6                                             RECONSIDERATION

                                                                7                     A motion for reconsideration is governed by Rule 59(e) of the Federal Rules

                                                                8 of Cvil Procedure, which is made applicable to these proceedings by Rule 9023 of the

                                                                9 Federal Rules of Bankruptcy Procedure. Hale v. United States Trustee (In re Basham),

                                                               10 208 B.R. 926, 934 (B.A.P. 9th Cir. 1997), aff’d sub nom., In re Byrne, 152 F.3d 924 (9th

                                                               11 Cir. 1998). Reconsideration is “an ‘extraordinary remedy, to be used sparingly in the
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                                                               12 interests of finality and conservation of judicial resources.’” Carroll v. Nakatani, 342 F.3d
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                                                               13 934, 945 (9th Cir. 2003) (internal citation omitted). “‘[A] motion for reconsideration should

                                                               14 not be granted, absent highly unusual circumstances, unless the district court is

                                                               15 presented with newly discovered evidence, committed clear error, or if there is an
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                                                               16 intervening change in the controlling law.’ A Rule 59(e) motion may not be used to raise

                                                               17 arguments or present evidence for the first time when they could reasonably have been

                                                               18 raised earlier in the litigation.” Kona Enterprises, Inc. v. Estate of Bishop, 229 F.3d 877,
                                                               19 890 (9th Cir. 2000) (internal citation omitted). 2

                                                               20                     A motion for reconsideration may not be used “to rehash the same

                                                               21 arguments made the first time or simply express an opinion that the court was wrong.” In

                                                               22
                                                                    2   To the extent the Debtor moves under Rule 60(b) of the Federal Rules of Civil Procedure, made
                                                               23 applicable by Rule 9024 of the Federal Rules of Bankruptcy Procedure, this rule provides the following
                                                                    “causes" upon which a court may relieve a party from an order: (i) mistake, inadvertence, surprise, or
                                                               24 excusable neglect; (ii) newly discovered evidence, (iii) fraud, misrepresentation, or other misconduct of an
                                                                    adverse party, (iv) the judgment is void; (v) the judgment has been satisfied, released, or discharged or it is
                                                               25 no longer equitable that the judgment should have prospective application; or (vi) any other reason
                                                                    justifying relief from the operation of the judgment. See In re Ankeny, 184 B.R. 64, 73 (B.A.P. 9th Cir.
                                                               26 1995); In re Coffman, 271 B.R. 492 (Bankr. N.D. Texas 2002). Similar to Rule 59 motions, courts generally
                                                                    recognize that reconsideration under Rule 60 is an extraordinary remedy which should be used sparingly in
                                                               27 the interests of finality and the conservation of judicial resources. See School Dist. No. 1J, Multonomah
                                                                    County v. AC and S, Inc., 5 F.3d 1255, 1263 (9th Cir. 1993).
                                                               28


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                                                                1 re Greco, 113 B.R. 658, 664 (D. Haw. 1990), aff'd and remanded sub nom., Greco v.

                                                                2 Troy Corp., 952 F.2d 406 (9th Cir. 1991); see also In re Mannie, 299 B.R. 603, 608

                                                                3 (Bankr. N.D. Cal. 2003) (“A motion to reconsider should not be used ‘to ask the court “to

                                                                4 rethink what the court had already thought through - rightly or wrongly” - or to reiterate

                                                                5 arguments previously raised.’”).

                                                                6                   A parallel rule is codified in the District Court’s Local Rule 7-18, which

                                                                7 addresses motions for reconsideration. Local Rule 7-18 states that “[a] motion for

                                                                8 reconsideration of the decision on any motion may be made only on the grounds of (a) a

                                                                9 material difference in fact or law from that presented to the Court before such decision

                                                               10 that in the exercise of reasonable diligence could not have been known to the party

                                                               11 moving for reconsideration at the time of such decision, or (b) the emergence of new
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                                                               12 material facts or a change of law occurring after the time of such decision, or (c) a
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                                                               13 manifest showing of a failure to consider material facts presented to the Court before

                                                               14 such decision. No motion for reconsideration shall in any manner repeat any oral or

                                                               15 written argument made in support of or in opposition to the original motion.”
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                                                               16                   Noticeably absent from the Motion is any relevant, credible, or admissible

                                                               17 evidence warranting reconsideration under any of the applicable Federal Rules of Civil

                                                               18 Procedure.
                                                               19                   As noted, the Motion merely restates, under the guise of a newly captioned

                                                               20 motion, arguments that the Debtor previously presented in connection with its Rule

                                                               21 12(b)(6) motion. And, as the transcript of the June 9 hearing reveals, the Court

                                                               22 considered, and rejected, these arguments for all the reasons set forth on the record and

                                                               23 in the June 10 Order. The Debtor simply fails to show, let alone support with any

                                                               24 admissible evidence, any grounds for reconsideration of the June 10 Order, such as a

                                                               25 change in controlling law, newly discovered evidence, or an error of fact or law in the

                                                               26 order.

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                                                                1                   For instance, the Court already considered, and rejected, the Fifth

                                                                2 Amendment arguments which form the core of the Motion. The following portion of the

                                                                3 June 9 hearing demonstrates the colloquy on this issue:

                                                                4                   THE COURT: I know that there are criminal – there are other

                                                                5                   charges and so there’s a lot of stuff going on. I have no

                                                                6                   opinion. I know what happened in the state court, but I have

                                                                7                   no opinion as to the ultimate outcome. But I tell you this, if

                                                                8                   either -- or they both must comply and I make it quite clear.

                                                                9                   If they don’t comply with the request, whether it’s Fifth

                                                               10                   Amendment or whatever, then I will enter the order for relief.

                                                               11                   Is it the debt -- from the debtor’s standpoint, do you
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                                                                                    understand that? Mr. Marticello, do you understand that?

                                                               13                   MR. MARTICELLO: Your Honor, this is Robert Marticello for

                                                               14                   the debtor. I understand the Court’s – what the Court just

                                                               15                   said and I will comply with the Court’s order. My concern is,
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                                                               16                   Your Honor, like you said there are other things going on

                                                               17                   and –

                                                               18                   THE COURT: No, I understand that. But, no, I’m telling you

                                                               19                   –

                                                               20                   MR. MARTICELLO: -- if there is a -- if there’s a –

                                                               21                   THE COURT: -- this is really simple and I can’t -- I’m not -- I

                                                               22                   -- people have a right to the -- you know, to take the Fifth

                                                               23                   and I -- again, whether they do or not I have no idea. But I’m

                                                               24                   telling you right now the creditors have a right to this

                                                               25                   information. If they refuse, either of them, I want both of

                                                               26                   them to sign it because it’s not clear to me exactly who’s

                                                               27                   really running the business. My guess is that maybe the

                                                               28                   husband is but I don’t know that, just from the various


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                                                                1                   pleadings. I don’t really know. So there -- therefore, I am

                                                                2                   requiring both to sign under penalty of perjury. And if nei --

                                                                3                   and if they don’t both sign it under penalty of perjury, then I

                                                                4                   will enter an order for relief. I just want you -- you -- I want

                                                                5                   you in particular and your clients, the debtor, the principals,

                                                                6                   to understand that. You do -- you understand what I’ve said.

                                                                7                   I want them to understand it. That would be the price for not

                                                                8                   complying with my order. You –

                                                                9                   MR. MARTICELLO: I understand, Your Honor.

                                                               10                   THE COURT: Mr. Marticello, you understand what I’ve said

                                                               11                   obviously. I’m not being facetious. You understand. And so
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                                                                                    any –

                                                               13                   MR. MARTICELLO: Correct, Your Honor.

                                                               14                   And when the Court discussed the timing of the declarations, in other

                                                               15 words, that they would be due by 3:00 p.m. on June 16, 2020, counsel for the Debtor
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                                                               16 stated that this timing would not pose a problem. It is now obvious that the timing would

                                                               17 not pose a problem since neither the Debtor nor the Rechnitz’s had any intention of

                                                               18 supplying the crucial information demanded by the Court. Thus, this self-created
                                                               19 emergency is not an emergency at all; it is a carefully orchestrated charade meant to

                                                               20 once again victimize and prejudice creditors.

                                                               21                   Importantly, the corporate Debtor cannot hide relevant information from this

                                                               22 Court under the false banner of its insider’s Fifth Amendment rights. This would amount

                                                               23 to a perversion of justice and a gross misuse of the Fifth Amendment. Simply stated, a

                                                               24 corporation does not enjoy the constitutional protections of the Fifth Amendment. See

                                                               25 Braswell v. United States, 487 U.S. 99, 108 S. Ct. 2284, 101 L. Ed. 2d 98 (1988); Kozyak

                                                               26 v. Poindexter (In re Financial Federated Title & Trust, Inc.), 252 B.R. 834 (Bankr. S.D.

                                                               27 Fla. 2000). The Debtor, therefore, cannot create and invoke constitutional protections

                                                               28 indirectly by claiming that its members and insiders are the subject of a criminal


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                                                                1 proceeding. See In re MMH Automotive Group, LLC, 346 B.R. 229, 232 (Bankr. S.D. Fla.

                                                                2 2006).

                                                                3                   The Court’s directive at the conclusion of the June 9 hearing could not be

                                                                4 more clear, and the Debtor and its counsel were warned of the repercussions of their

                                                                5 collective non-compliance. The Court did not provide a carve out for the invocation of

                                                                6 any Fifth Amendment rights or any other privilege, and it should not do so through this

                                                                7 Motion. The Debtor’s last minute theatrics ring hollow, especially when there was no

                                                                8 objection to the entry of the June 10 Order during the June 9 hearing. Plainly stated, the

                                                                9 Debtor is attempting to play a game of bait and switch by remaining silent at the June 9

                                                               10 hearing and then filing this misleading “emergency” Motion on Fifth Amendment grounds.

                                                               11                   To reiterate, at no time during the June 9 hearing did the Debtor’s counsel
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                                                               12 object to the terms and conditions of the Court’s June 10 Order. Fearing this Court would
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                                                               13 enter an order for relief, the Debtor led this Court and Petitioning Creditors to believe that

                                                               14 the Rechnitz’s would simply comply. Then, less than 24-hours before the Court’s

                                                               15 deadline for compliance, the Debtor has done a complete about face in order to
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                                                               16 perpetuate the Debtor and the Rechnitz’s frauds. At this point, the Debtor should simply

                                                               17 do what is in the best interests of creditors, and consent to an order for relief to allow

                                                               18 assets to be recovered.
                                                               19                   Yet, at the 11th and a half hour, the Court is being told tales of investigations

                                                               20 that may lead to nothing and tales of what the government may be doing. Any

                                                               21 investigation would be protected from disclosure by the government and it is implausible

                                                               22 to believe the government would have Jona testify before the grand jury only to assert his

                                                               23 Fifth Amendment rights. Only in criminal law Fantasyland does that happen. Jona has

                                                               24 no credibility in any court and if he wants to hide from this Court, the fate of the Debtor

                                                               25 has already been preordained.

                                                               26                   Petitioning Creditors, and the other untold and unidentified creditors, are

                                                               27 confident this Court says what it means and means what it says: if the Rechnitz’s fail to

                                                               28 file the joint declarations by 3:00 p.m. on June 16, 2020, the Debtor’s Rule 12(b) motion


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                                                                1 will be denied, and an order for relief entered. Thus, all the argument about Petitioning

                                                                2 Creditors is moot and disingenuous. If there is no compliance, an order for relief will be

                                                                3 entered and a trustee appointed. This was a self-executing order and it is shocking that

                                                                4 Petitioning Creditors are faced with a Motion based entirely on unsubstantiated

                                                                5 allegations, inadmissible hearsay, and illusory emergencies which fail to support either

                                                                6 reconsideration or a stay of the June 10 Order.

                                                                7                                                 III.

                                                                8                                           CONCLUSION

                                                                9                   Based on the foregoing, Petitioning Creditors respectfully request that the

                                                               10 Motion be denied in its entirety, and for such other relief as the Court deems just and

                                                               11 proper under the circumstances.
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                                                               12 DATED: June 15, 2020                      SulmeyerKupetz
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                                                                                                            A Professional Corporation
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                                                               15                                           By: /s/ Daniel A. Lev          _________________
SulmeyerKupetz, A




                                                                                                                Daniel A. Lev
                                                               16                                               Attorneys for Petitioning Creditors
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